                Case 1:19-cr-00490-RMB Document 32-1 Filed 07/18/19 Page 1 of 4
    Case 9:08-cv-80736-KAM      Document 361-11 Entered on FLSD Docket 02/10/2016 Page 2 of 3

  Villafana, Ann Marie C. (USAFLS)

    om:                  Jay Lefkowitz [JLefkowitz@kirkland.com]
    nt:                  Thursday, September 13, 2007 7:35 PM
                         Villafana, Ann Marie C. (USAFLS)
    bject                Re:


  Sounds good. I will be at home.       Let's talk at 9 am.              Already thinking aboul
  the same statutes.

  Look forward to speaking in the morning.

  Best, Jay


        Original Message -----
  From: "Villafana, Ann Marie C. \
  Sent; 09/13/2007 07:26 PM AST
  To: Jay Lefkowitz
  Subject: RE:



 Hi Jay -- Yes, r am. r have been spending some quality time with Title 18 looking for
 misdemeanors. Do you want to ta(e a look at 18 use 403, 18 use 1512(d), and 47 use
 223(a)(l)(B) and we can talk about them tomorro"'? I know that someone mentioned there being
~ivity on an airplane, I just want to make sure that there is factual basis tor the plea
. .t the agents can confirm.

  I'm not sure exactly where I will be tomorrow morning, so is it alright if I call you?

  Have a good evening.

  A. Marie Villafana
  Assistant U.S. Attorney
  500 S. Australian Ave, Suite 400
  West Palm Beach, FL 33401




  -----Original Message-----
  From: Jay Lefkowitz [mailto:JLefkowitz@kirkland.com]
  Sent: Thursday, September 13, 2007 7:21 PM
  To: Villafana, Ann Marie C. (USAFLS)
  Subject:


  Marie - Are you free to speak at 9 am tomorrow?

  Thanks.     Jay



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                Case 1:19-cr-00490-RMB Document 32-1 Filed 07/18/19 Page 2 of 4
     Case 9:08-cv-80736-KAM    Document 361-11   Entered on FLSD Docket 02/10/2016   Page 3 of 3
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                   Case 1:19-cr-00490-RMB Document 32-1 Filed 07/18/19 Page 3 of 4
      Case 9:08-cv-80736-KAM           Document 361-10 Entered on FLSD Docket 02/10/2016 Page 2 of 2

    Villafana, Ann Marie C. (USAFLS)

      om:                     Villafana, Ann Marie C. (USAFLS)
      nt:                     Tuesday, September 18, 2007 8:44 AM
                              'Jay Lefkowitz'
      bject:                  Draft Agreements?


    Hi Jay -- I was hoping there would be things for me to read this morning, but I will try to remain patient.

    I believe there are only two types of agreements that would apply to this case: (1) a plea agreement to a federal
    charge or charges; and (2) a non-prosecution agreement (which is really a deferred prosecution agreement
    because the defendant agrees that if he violates the agreement, the U.S. can prosecute him).

    A plea agreement is part of the court file. It is not accessible on-line via PACER, but someone can go to the
    Clerk's Office to obtain a copy.

    A non-prosecution agreement would not be made public or filed with the Court, but it would remain part of our
    case file. It probably would be subject to a FOIA request, but it is not something that we would distribute
    without compulsory process.

    On the obstruction charges, many of the facts I included in that first proffer were hypothesized based upon our
                                                         •
    discussions and the agents' observations o f • • - We will need to interview her to confirm the accuracy of
    those facts. On a second count, we could rely on the incident where Mr. Epstein's private investigators
    followed-father, forcing him off the road. Or, ifthere is something more recent related to any -
                    we could consider that.

•    ope that helps.

    A. Marie Villafmia
    Assistant U.S. Attorney
    500 S. Australian Ave, Suite 400
    West Palm Beach, FL 33401




•                                                                                                  RFP MIA OOOO0~,
                    Case 1:19-cr-00490-RMB Document 32-1 Filed 07/18/19 Page 4 of 4
     . Case ,9:08-cv-80736-KAM            Document 361-9         Entered on FLSD Docket 02/10/2016                 Page 2 of 2

    Villafana, Ann Marie C. (USAFLS)

                                 Jay Lefkowitz {JLefkowitz@kirkfar:d.com]
                                 Wednesday, September '9, 2007 11:36 AM
                                 Villafana, Ann Marie C. (USAFLS)
                                 Re: Draft Agreements?


    Confidential - For scttkment purposes only

    Still working on rcdline. But pis look at this:

    On August_, 2007, FR[ Special Agents E. Nesbitt Kuyrkendall and Jason Richards traveled to the home                        t)f
                                                                       in cormcction with an investigation pending ii: th:
                                                                                                                       •
    result, Mr. Epstein atlempted
    receipt of a •••                 to both:••••••••••••••
    Southern District of Florida. Mr. Epstein \Vas informed of the service of t h e • • • • • • • • •
                                        harass
                           Ito attend an official proceeding, more particularly the
                                                                                              delay and hinder their
                                                                                                  -
                                                                                                                    As a

                                                                                                              1 to which

             --                  I. Mr. Epstein, in particular, changed travel plans and flew with both
                ____ , to the United States Virgin Islands rather than to an airport in Nev. Jersey in order to attempt to
                                                                                                  •
    verbally harassed both    r••••••••••••
    delay their receipt of what Mr. Epstein expected to be a • • • • • • • • • • Mr. Epstein further

    receipt of process all in violatio11 oC 18 USC 1512(d)(l).
                                                                  in cmmection to this attempt to <lday their voluntary




    ----- Original Message ----·
       rom: "Villafana, Ann Marie C. '(USAFLS\)"
•     ent: 09/19/2007 11: 18 AJv1 AST
     To: Jay Lefkowitz
     Subject; RE: Draft Agreements?


    Hi Jay I don't know the factual basis for the alkgcd                                      ht•c:ms~ we havt> no independent
    evidence of that. So. the agents need to Ltlk to tht·m ar:d then I can craft t;p a proposed factual proffer. I have sent an.:-
    mail to Barry and Lanna to determine 'heir availahility Thank;.

    A. Marie Vi/lafaiia
    Assistan: U.S. Attorney




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